Case 1:19-cv-22601-DPG Document 28 Entered on FLSD Docket 01/22/2020 Page 1 of 5



                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                        MIAMI DIVISION

  ROBERTO ORTIZ,

         Plaintiff,

  v.                                                          Case No. 19-CV-22601
  EXPERIAN INFORMATION SOLUTIONS, INC.,
  TRANSUNION LLC, and AMERICAN HONDA
  FINANCE CORPORATION,

         Defendants,

                SUPPLEMENTAL RULE 26 DISCLOSURES BY DEFENDANT,
                     AMERICAN HONDA FINANCE CORPORATION

         Defendant, AMERICAN HONDA FINANCE CORPORATION (“AHFC”), by and

  through its undersigned attorneys, hereby makes the following supplemental disclosures based

  upon the information reasonably available as of the date set forth below, without waiving its

  rights to supplement and/or amend same as additional information becomes available.

  A.          The name and, if known, the address and telephone number of each individual
              likely to have discoverable information—along with the subjects of that
              information—that the disclosing party may use to support its claims or defenses,
              unless the use would be solely for impeachment.

         The following persons may possess discoverable information which the Defendant may

  use to support its defenses:

         1.      Roberto Ortiz
                 c/o his attorneys Leo Bueno, Esq. and Joey D. Gonzalez, Esq.
                 Coral Gables, FL

         It is believed that Roberto Ortiz has knowledge of his affirmative claims, alleged

  damages and information pertaining to the subject lease agreement, as well as payments that

  were made or not made pursuant to the terms of the subject leasing agreement, any alleged

  adverse credit implications, and all relevant written and oral communications in and regarding




                                                 1
Case 1:19-cv-22601-DPG Document 28 Entered on FLSD Docket 01/22/2020 Page 2 of 5



  this action. This includes, without limitation, all alleged credit disputes, credit applications, and

  credit denials.



          2.        American Honda Finance Corporation
                    c/o Quintairos, Prieto, Wood & Boyer, P.A.
                    10902 Crabapple Road
                    Roswell, GA 30074

          It is believed that AHFC’s representatives and/or its agents have knowledge about the

  subject leasing agreement, payments made and/or missed pursuant to the leasing agreement, as

  well as any communications with plaintiff and co-defendants in this action.



          3.        Experian Information Solutions, Inc. (“Experian”)
                    c/o Michael A. Maugans
                    Jones Day
                    600 Brickell Avenue, Suite 3300
                    Miami, FL 33131

          It is believed that representatives at this company have knowledge about Plaintiff’s credit

  reporting claims against AHFC, as well as any communications with plaintiff.



          4.        Trans Union, LLC (“Trans Union”)
                    c/o Andrew G. Tuttle
                    Fowler White Burnett, P.A.
                    Brickell Arch
                    1395 Brickell Avenue, 14th Floor
                    Miami, FL 33131

          It is believed that representatives at this company have knowledge about Plaintiff’s credit

  reporting claims against AHFC, as well as any communications with plaintiff.



          5.        Credit furnishers who Plaintiff alleges denied him credit opportunities
                    Names and Addresses Unknown at this time




                                                     2
Case 1:19-cv-22601-DPG Document 28 Entered on FLSD Docket 01/22/2020 Page 3 of 5



         It is believes that one or more providers who denied credit to Plaintiff (and whose

  identity is yet to be determined) have knowledge of Plaintiff’s alleged denial of credit

  opportunities.



  B.          A copy—or a description by category and location—of all documents,
              electronically stored information, and tangible things that the disclosing party
              has in its possession, custody, or control and may use to support its claims or
              defenses, unless the use would be solely for impeachment.

         Pursuant to Fed. R. Civ. P. 26(a)(1)(B), Defendant may rely on the following categories

  of documents and things to support its defenses:

         1.        All pleadings, declarations, and exhibits on file to date and all future pleadings,

  deposition testimony, and declarations to be filed in the above-captioned action.

         2.        The subject lease agreement, a copy of which will be provided via e-mail with

  these disclosures.

         3.        Correspondence from AHFC to Plaintiff, copies of which will be provided via e-

  mail with these disclosures

         4.        All documents supplied by Plaintiff in the course of discovery.

         5.        All relevant communications between Plaintiff and AHFC. Defendant believes

  such documents are in Plaintiff’s possession, custody, or control.

         6.        All relevant communications between Plaintiff and Experian as well as any

  relevant documents in the possession of the latter. Defendant believes such documents are in

  Plaintiff’s and Experian’s possession, custody, or control.

         7.        All relevant communications between Plaintiff and Trans Union, as well as any

  relevant documents in the possession of the latter. Defendant believes such documents are in

  Plaintiff’s and Trans Union’s possession, custody, or control.




                                                     3
Case 1:19-cv-22601-DPG Document 28 Entered on FLSD Docket 01/22/2020 Page 4 of 5



         8.      All relevant documents between Plaintiff and any other credit furnishers who

  Plaintiff claims denied him credit opportunities. Defendant believes such documents are in

  Plaintiff’s possession, custody, or control.

         9.      All documents listed or referenced in Plaintiff’s initial disclosures.



  C.          A computation of each category of damages claimed by the disclosing party—
              who must also make available for inspection and copying as under Rule 34 the
              documents or other evidentiary material, unless privileged or protected from
              disclosure, on which each computation is based, including materials bearing on
              the nature and extent of injuries suffered.

         N/A as to this Defendant.



  D.          For inspection and copying as under Rule 34, any insurance agreement under
              which an insurance business may be liable to satisfy all or part of a possible
              judgment in the action or to indemnify or reimburse for payments made to
              satisfy the judgment.

         To the extent applicable insurance exists, AHFC reserves the right to amend this response

  accordingly.

         Dated: January 22, 2020



                                         QUINTAIROS, PRIETO, WOOD & BOYER, P.A.
                                         Attorneys for Defendant American Honda Finance
                                         Corporation


                                         By:      /s/ C. Brent Wardrop
                                               C. Brent Wardrop, Esq.
                                               Florida Bar No. 0015853
                                               Georgia Bar No. 553733
                                               10902 Crabapple Road
                                               Roswell, Georgia 30075
                                               Tel: (770) 650-8737
                                               brent.wardrop@qpwblaw.com




                                                    4
Case 1:19-cv-22601-DPG Document 28 Entered on FLSD Docket 01/22/2020 Page 5 of 5



                                   CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on this 22nd day of January, 2020, I electronically filed the

  foregoing document with the Clerk of the Court using the CM/ECF system, which will send a

  notice of electronic filing to the following counsel of record:

  Leo Bueno, Esq.                                       Joey D. Gonzalez, Esq.
  Leo Bueno, Attorney, PLLC                             Joey Gonzalez, Attorney, P.A.
  P.O. Box 141679                                       P.O. Box 145073
  Coral Gables, FL 33114-1679                           Coral Gables, FL 33114-5073
  Leo@BuenoLaw.com                                      Joey@JoeyGonzalezLaw.com
  Attorneys for Plaintiff                               Attorneys for Plaintiff

  Michael Alexander Maugans, Esq.                       Andrew Garrett Tuttle, Esq.
  Genna Sinel, Esq.                                     Fowler White Burnett PA
  Jones Day                                             Northbridge Centre
  600 Brickell Avenue                                   515 N. Flagler Drive
  Miami, FL 33131                                       Suite 2100
  mmaugans@jonesday.com                                 West Palm Beach, FL 33401
  gsinel@jonesday.com                                   atuttle@fowler-white.com
  Attorneys for Experian                                Attorneys for TransUnion




                                                By:       C. BRENT WARDROP
                                                          C. Brent Wardrop, Esq.




                                                    5
